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 3
                              UNITED STATES DISTRICT COURT
 4
                                     DISTRICT OF NEVADA
 5
                                               ***
 6                                             )
     UNITED STATES OF AMERICA,                 )
 7                                             )              2:10-CR-00578-PMP-RJJ
                     Plaintiff,                )
 8                                             )
     v.                                        )
 9                                             )
     LINDA LIVOLSI,                            )
10                                             )              ORDER
                     Defendant.                )
11                                             )
12
               IT IS ORDERED that Defendant Linda Livolsi shall file a response to Plaintiff
13
     United States of America’s Motion to Order Defendant to Submit to an Independent
14
     Medical Examination (Doc. #70) on or before September 4, 2012.
15
               IT IS FURTHER ORDERED that Plaintiff United States of America shall file a
16
     reply on or before September 10, 2012.
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     DATED: August 28, 2012
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20                                              PHILIP M. PRO
                                                United States District Judge
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